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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:14CR183
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )              TENTATIVE FINDINGS
                                             )
MANUAL J. CABRERA,                           )
                                             )
             Defendant.                      )

      The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”) and the Defendant's objections to Paragraphs 38 and 42 (Filing Nos.

61 and 63). The government adopted the PSR (Filing No. 62)1. See Order on Sentencing

Schedule, ¶ 6. The Court advises the parties that these Tentative Findings are issued with

the understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

      Accordingly,

      IT IS ORDERED:

      1. The Defendant’s Objections to the Presentence Report (Filing No. 61) and

Written Statement of Position (Filing No. 63) will be heard at the sentencing hearing;

      2.      The Court intends to adopt the PSR in all other respects;

      3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are


      1
        The Court advises that the standing order referenced by the government in Filing
No. 24 was rescinded on August 6, 2004. (See District Court’s webpage:
http://www.ned.uscourts.gov/.) In the future, parties should follow the deadlines set forth
in the Court’s Order on Sentencing Schedule filed in the case.
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required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 27th day of January, 2015.


                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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